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                         Exhibit A
               Case: 4:18-cv-01394-JAR Doc. #: 1-1 Filed: 08/22/18 Page: 2 of 23 PageID #: 6
    d           IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                                Case Number: 1822-CC10805
 MICHAEL KELLAN MULLEN
 Plaintiff/Petitioner:                                             Plaintiffs/Petitioner's Attorney/Address                   D ROBERTS
 JEREMIAH WILLIAMSON                                               JAMES WINDSOR EASON                                     SPECIAL PROCESS
                                                                   124 GAY AVENUE                                              SERVER
                                                             vs.   SAINT LOUIS, MO 63105
 Defendant/Respondent:                                             Court Address:
 GENERAL REVENUE CORPORATION                                       CIVIL COURTS BUILDING
 Nature of Suit:                                                   10 N TUCKER BLVD
 CC Other Tort                                                     SAINT LOUIS, MO 63101
                                                                                                                                  Date File Stam

  The State of Missouri                             REVENUE CORPORATION

  CSC LAWYERS INC SERVICE
  COMPANY 221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101                                                                               SPECIAL PROCESS SERVER
          COURT SEAL OF               You are summoned to appear before this court and to fite your pleading to the petition, a
           \ ~O,\jR~T   ~~            copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                      plaintiff/petitioner at the above address all within 30 days after receiving this summons,
          ~9 1o                       exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                      be taken against you for the relief demanded in the petition.

              h ST LOU,S
        C,TY OF                            July20, 2018
                                                 Date                                                          Clerk
                                      Further Infonnation:
                                                              Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue
     I certify that I have served the above summons by: (check one)
     ❑ delivering a copy of the summons and a copy of the petition to the defendant/respondent.
     ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
                                                                      , a person of the defendant's/respondent's family over the age of
          15 years who permanently resides with the defendant/respondent.
     ❑ (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
                                                                  (name)                                                         (title).
     ❑ other:

     Served at                                                                                                                           (address)
     in                                           (County/City of St. Louis), MO, on                              (date) at              _ (time).


                      Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                  Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on                                               (date).
             (Seal)
                                   My commission expires:
                                                                          Date                                    Notary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriffs Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (_ miles @ $.             per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.



OSCA (06-18) SM30 (SMCC) ForCourt Use On/y: Document Id # 18-SMCC-11672                1 of 1            Civil Procedure Form No. 1; Rules 54.01 — 54.05,
                                                                                                 54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                                                                                             m
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                               IN THE STATE OF MISSOURI                                      (DQ
                                  22ND JUDICIAL CIRCUIT                                      C)
                                ST. LOUIS CITY, MISSOURI                                     Iz~
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                                                                                              U)
                                                                                              r
JEREMIAH WILLIAMSON                                                                          0
                                                                                             c

Plaintiff,                                                                                   ~
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                                                                                             ~
                                                                                             N
V.                                                                 Case No.                  0
                                                                                             N
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                                                                                             >
GENERAL REVENUE CORPORATION                                                                  00
                                                                                             ;
                                                                                             N
Defendant.                                                                                   -9~
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                                                                                             La
                                                                                             20
Serve Defendant at:
CSC-Lawyer's Incorporating Service Company
221 Bolivar Street
Jefferson City, Missouri 65101



                                           PETITION

        COMES NOW, Plaintiff, and for his Petition states as follows:

                                       INTRODUCTION

        1.     This is an action for statutory damages brought by an individual consumer

for violations of the Fair Debt Collections Practices Act, 15 USC 1692 et. Seq.

("FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive, and

unfair practices.

        2.    Plaintiff demands a trial by jury on all issues so triable.

                                       JURISDICTION

        3.     This Court has jurisdiction of the FDCPA claim under 15 USC 1692k (d)

because the illicit collection activity was directed at Plaintiff in St. Louis, Missouri.

                                           PARTIES

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        4.      Plaintiff is a natural person currently residing in St. Louis, Missouri.    a
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Plaintiff is a"consumer" within the meaning of the FDCPA. The alleged debt Plaintiff        ~
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                                                                                            -„
owes arises out of consumer, family, and household transactions.
                                                                                            r
                                                                                            0
                                                                                            c
        5.      Defendant is a collection agency with its principal place of business in    cn
                                                                                            _
Mason, Ohio. The principal business purpose of Defendant is the collection of debts in      N
                                                                                            0
Missouri and Defendant regularly attempts to collect debts alleged to be due another.       o
                                                                                            T
        6.      Defendant is engaged in the collection of debts from consumers using the    N
                                                                                            ~
                                                                                            w
mail and telephone. Defendant is a"debt collector" as defined by the FDCPA. 15              ~

U.S.C. § 1692a (6).

                                            FACTS

        7.      On or about April 9, 2018, Plaintiff received a letter from Defendant

attempting to collect a debt allegedly owed to University or Missouri-Kansas City

("UMKC"). Exhibit 1.

       8.       The letter states that Plaintiff has a balance due of $4,301.78. The

balance due consists of $3,207.59 (Principal), $235.43 (Interest), $856.76 (Collection

Cost), and $2.00 (Other Amount).

       9.       That Defendant has not incurred collection costs of $856.76.

       10.      That said collection, interest and other amounts are illegal and not owed

by Plaintiff.

       11.      That the principal balance is not owed by Plaintiff because he never

attended UMKC the semester these charges were billed to him.




                                                Er!
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       12.       Upon information and belief, Plaintiff did not sign any agreement that

would obligate him to pay any amount other the balanced charged for the services he

actually received.

                           COUNT I: VIOLATIONS OF THE FDCPA

       13.       Plaintiff re-alleges and incorporates by reference all of the above

paragraphs.

       14.       In its attempts to collect the alleged debt from Plaintiff, Defendant has

committed violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to,

the following:

       a.        Communicating a false impression of the amount of the debt. 15 U.S.C. §

1692e(2).

       b.        Attempting to collect an amount Defendant is not entitled to collect. 15

U.S.C. § 1692f(1).

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        Judgment that Defendant's conduct violated the FDCPA;

       B.        Actual damages;

       C.        Release of the alleged debt;

       D.        Statutory damages, costs and reasonable attorney's fees pursuant to 15

       USC 1692(k); and

       E.        For such other relief as the Court may deem just and proper.




                                                3
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                                    THE EASON LAW FIRM, LLC

                                    s/ James W. Eason

                                    JAMES W. EASON, #57112
                                    124 Gay Avenue, Suite 200
                                    St. Louis, Missouri 63105
                                    Phone: (314) 932-1066
                                    Fax:    (314) 667-3161
                                    Email: james.w.eason@gmail.com




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                          Exhibit B
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                          Exhibit C
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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
 JEREMIAH WILLIAMSON                                                                                        GENERAL REVENUE CORPORATION

    (b) County of Residence of First Listed Plaintiff             St. Louis County, MO                        County of Residence of First Listed Defendant              Warren County, OH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
The Eason Law Firm, LLC                                                                                     Foley & Lardner LLP
124 Gay Avenue, Suite 200                                                                                   500 Woodward Ave. Suite 2700
St. Louis, MO 63105                                                                                         Detroit, MI 48226
(314) 932-1066                                                                                              (313) 234-7100

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                              Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original                ’ 2 Removed from              ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding                  State Court                           Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           15 U.S.C. § 1692
VI. CAUSE OF ACTION Brief description of cause:
                                           Complaint alleges unauthorized attempted debt collection
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION      DEMAND $                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P. monetary damages, amount not specified JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                   DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
08/22/2018                                                              Maria A. Ruggirello
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                         MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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  Reset

                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MISSOURI
JEREMIAH WILLIAMSON                                       )
                                         ,                )
                                                          )
                            Plaintiff,                    )
                                                          )
           v.                                             )   Case No.       4:18-cv-1394
GENERAL REVENUE                                           )
CORPORATION                              ,                )
                                                          )
                            Defendant,                    )
                                                          )

                                                ORIGINAL FILING FORM

   THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
   WHEN INITIATING A NEW CASE.


           THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

   PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

   AND ASSIGNED TO THE HONORABLE JUDGE                                                    .


           THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

   PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS                                             AND

   THAT CASE WAS ASSIGNED TO THE HONORABLE                                                . THIS CASE MAY,

   THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.


           NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

   COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

   MAY BE OPENED AS AN ORIGINAL PROCEEDING.



   The undersigned affirms that the information provided above is true and correct.



   Date:   08/22/2018                                  Maria A. Ruggirello
                                                              Signature of Filing Party
